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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA                      : CRIMINAL NO.:3:19CR65(VLB)
                v.                            :
KAREEM SWINTON                                : August 14, 2020


    MEMORANDUM OF DECISION ON SWINTON KAREEM SWINTON’S MOTIONS IN
                   LIMINE [Dkts. 362, 363, 365, 366, 367]
          Before this Court are five evidentiary motions filed by the Defendant, Mr.

Kareem Swinton (“Mr. Swinton”).1 For the reasons and subject to the limitations

stated below, Mr. Swinton’s Motion in limine to exclude the government from using

conversations not directly charged [Dkt. 363] is DENIED. Mr. Swinton’s motion to

exclude 404(b) evidence is DENIED. [Dkt. 362]. The motion to exclude testimony

based on speculation [Dkt. 365] is GRANTED. The motion concerning DEA Agent

expert testimony [Dkt. 366] is GRANTED IN PART AND DENIED IN PART. Mr.

Swinton’s motion for a special hearing concerning pole camera photographs [Dkt.

367] is GRANTED in part.

     I.      Background

          By an indictment filed March 5, 2019, Mr. Swinton is charged with federal

narcotics offenses, including possession with the intent to distribute, and

distribution of 5 kilograms or more of cocaine, in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(A), 846. [Dkt. 21]. The indictment alleges that Mr. Swinton conspired with


1Mr. Swinton has also filed a motion for the production of agent notes, [Dkt. 364],
which the Court will address in a separate ruling.
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twelve other individuals located in Connecticut to distribute cocaine. Id. On March

18, 2020, Mr. Swinton and four co-defendants were charged by a superseding

indictment adding an enhancement provision for Mr. Swinton’s prior federal

narcotics conviction. [Dkt. 348]. This indictment increased the statutory penalties

from a 10-year mandatory minimum prison term to a 15-year mandatory minimum,

and increased the supervised release terms and fine provision. Id. at 2.


      The Government’s pretrial filings indicate that, among other evidence, it

plans to introduce phone call evidence from calls Mr. Swinton placed while in

Maryland, New Jersey, and Connecticut. [Dkt. 385]. At this time, the Government

cannot conclusively state whether it will introduce other-crimes evidence as part

of its case-in-chief because it does not know what Mr. Swinton’s claims at trial will

be. [Id. at 1-2]. The Government also plans to call DEA officers to testify as expert

witnesses to coded language in text messages between defendants and introduce

photographic evidence which allegedly shows Mr. Swinton entering Hat Boyz in

Norwich, CT. See [Dkts. 366, 367].

   II. Motion in Limine to exclude the government from introducing phone call

   evidence & Motion in Limine to exclude all other-crimes evidence under Federal

   Rule of Evidence 404(b)


      At issue are phone calls which take place between Mr. Swinton and co-

defendants regarding packaging, cutting, distribution, and other related topics to

narcotics distribution, as well as any other evidence that might be governed by

Rule 4040(b). [Dkts. 362 (Mot. to Exclude 404(b) Evidence), 363 (Mot. to Exclude

Phone Call Evidence), and 385 (Opp. to Mots.)]. Mr. Swinton argues that the content
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of the phone calls is inadmissible on two grounds. The first is that any phone calls

made while Mr. Swinton was outside Connecticut are subject to and should be

excluded as extrinsic evidence under Rule 404(b) and the Fifth Amendment. [Dkt.

363]. The second is that the phone calls should be excluded as untimely noticed

under Rule 404(b). [Dkt. 362]. The Court will address each issue in turn.

   A. The activities in the phone calls are intrinsic evidence of the indicted crimes

       and not extrinsic character evidence under Rule 404(b).

   “Evidence of a crime, wrong, or other act is not admissible to prove a person’s

character in order to show that on a particular occasion the person acted in

accordance with the character.” Fed. R. Evid. 404(b)(1). As such, evidence of an

extrinsic crime cannot be introduced as character evidence to prove that an

individual acted in any certain way on a specific occasion. There is an exception in

a criminal setting, where such evidence may be admissible for “proving motive,

opportunity, intent, preparation, plan, knowledge, identity, absence of mistake, or

lack of accident.” Fed. R. Evid. 404(b)(2). If the evidence is admissible under a

404(b)(2) exception, then the prosecutor must provide “reasonable notice of the

general nature of any such evidence that the prosecutor intends to offer; and do

so before trial.” Id.


   To determine whether Rule 404(b) applies, the relevant evidence must be

categorized as either intrinsic or extrinsic to the charged crime. United States v.

Midyett, 603 F. Supp. 2d 450, 459–60 (E.D.N.Y. 2009). It is well established in the

Second Circuit that:
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      evidence of uncharged criminal activity is not considered other crimes
      evidence under Fed.R.Evid. 404(b) if it [1] arose out of the same
      transaction or series of transactions as the charged offense, [2] if it is
      inextricably intertwined with the evidence regarding the charged
      offense, or [3] if it is necessary to complete the story of the crime on
      trial.’
United States v. Nektalov, 325 F.Supp.2d 367, 370 (S.D.N.Y.2004) (quoting United

States v. Carboni, 204 F.3d 39, 44 (2d Cir.2000)). The Second Circuit also

recognizes that evidence of participation in narcotic related activities is intrinsic

evidence to a conspiracy to distribute narcotics. United States v. Santos, 541, F.3d

63, 70-71 (2d Cir. 2008) (holding that evidence of narcotic related activities was

sufficient to prove that Defendant was aware he was participating in a drug ring

which was related to a murder).


   In the case at bar, the Government intends to use evidence taken from wiretaps

of phones held by Harold Butler, Robert Hall, and Kareem Swinton to allege that

Mr. Swinton had knowledge, planned, intended to participate, or identified with the

conspiracy from a period from “on or about April 2018 until February 20, 2019…in

the District of Connecticut and elsewhere”. [Dkt. 385 at 5, 11(quoting [Dkt. 348])].

Mr. Swinton challenges these calls on Fed. R. Evid. 404(b)(1) grounds, claiming that

because the calls took place outside the state of Connecticut, they are character

evidence extrinsic to his indicted crime and inadmissible. For the following

reasons, the Court will deny the motion to exclude phone calls that occurred

outside the state of Connecticut.


      Mr. Swinton argues that phone calls that occurred outside Connecticut

should be excluded on the basis that they are not evidence of the charged

conspiracy, but evidence of extrinsic crimes not related to the charged federal
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narcotics offenses, which include possession with the intent to distribute, and

distribution of 5 kilograms or more of cocaine. The government maintains that the

intercepted conversations relate to narcotics trafficking activities such as

“obtaining narcotics, cutting narcotics, packaging narcotics, meeting to distribute

narcotics, collecting or owing debts for narcotics, selling narcotics, discussing

plans to distribute narcotics, avoiding law enforcement detection, or pertain to

outside narcotics competition” and will be used to prove that Mr. Swinton

knowingly and willingly participated in a conspiracy to distribute narcotics. [Dkt.

385 at 6].

       Applying the Nektalov factors, 325 F.Supp.2d at 370, the Court finds that the

activities described in the phone calls are intrinsic to the charged crimes of

narcotics trafficking and the calls should not be categorized as extrinsic evidence

under 404(b) because they are inextricably tied to the charged offenses. Evidence

that Mr. Swinton participated in activities such as planning, cutting, packaging,

distributing, or other involvement with business operations serves as evidence

that Mr. Swinton knowingly and willingly participated in a conspiracy to traffic

narcotics. Introduction of this evidence does not indict Mr. Swinton of separate

crimes, but rather demonstrates that he knew the conspiracy existed, intentionally

joined it with specific intent to commit the object of the conspiracy, and knew or

could have reasonably foreseen that the conspiracy involved the alleged quantity

and type of drugs.

       Mr. Swinton claims this precedent does not apply because phone calls made

outside of Connecticut are not relevant to the charged conspiracy. [Dkt. 363]. The
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Court disagrees because the nature of the conspiracy requires communication

between individuals, and regardless of the place the phone calls originated, they

were used to distribute narcotics in Connecticut and other places. [Dkt. 248 at 1].

Mr. Swinton is charged with conspiring with 12 other individuals to distribute

narcotics, and charged with intent to distribute in the “[d]istrict of Connecticut and

elsewhere” Id. The phone calls Mr. Swinton aims to exclude discuss these exact

intrinsic activities tied to the crime he was indicted of, and further illustrate that Mr.

Swinton was a knowing and willing participant in a conspiracy to distribute

narcotics in the state of Connecticut. [Dkt. 385 at 6]. Regardless of from where the

phone calls were placed, Mr. Swinton does not dispute that the topics discussed

all focus on the conspiracy to distribute narcotics in the state of Connecticut, and

thus are relevant evidence to Mr. Swinton’s involvement in the conspiracy.


      Finally, Mr. Swinton’s argument that these phone calls will not show one

overall conspiracy, but rather several independent conspiracies is not a reason to

exclude the phone calls, but instead an argument about jury instructions. See

Kotteakos v. United States, 328 U.S. 750, 755 (1946) (holding jury instruction that

indictment charged just one conspiracy was erroneous where proof established

eight or more distinct conspiracies, “separate spokes meeting at a common

center”). First, the existence of multiple conspiracies is not a question for the Court

to decide at this stage: ”[w]hether the government has proved a single conspiracy

or has instead proved multiple other independent conspiracies is a question of fact

for a properly instructed jury.” United States v. Aracri, 968 F.2d 1512, 1519 (2d Cir.

1992). Second, even if the jury does find that there were multiple conspiracies, Mr.
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Swinton has not alleged that any prejudice would result from the use of the phone

calls. See United States v. Williams, 205 F.3d 23, 33 (2d Cir. 2000) (“because

Williams was himself involved in all the conspiratorial conduct proved at trial, there

was no prejudicial spillover evidence likely to confuse the jury”).

      For these reasons, the Court DENIES Mr. Swinton’s motion to exclude these

phone call conversations. [Dkt. 363].

   B. Even if the phone calls are 404(b) extrinsic evidence, Mr. Swinton has been

      provided sufficient and timely of the use of that evidence.


      Mr. Swinton also argues that the government has not provided timely or

specific notice of the 404(b) evidence, which is counterproductive to the policy’s

intended purpose of reducing surprise and promoting early resolution on the issue

of admissibility. [Dkt. 362] (citing Advisory Committee Note, Fed. R. Evid. 404(b)).

Rule 404(b) holds that if any prosecutor intends to introduce this evidence, they

must provide “reasonable notice of the general nature of any such evidence that

the prosecutor intends to introduce at trial”. The Court disagrees that Mr. Swinton

was not given timely and reasonable notice of the evidence against him.


      Notice timing is flexible, so long as Mr. Swinton is provided the opportunity

to object to the admissibility of evidence. Advisory Committee Note, Fed. R. Evid.

404(b). Rule 404(b) requires that a prosecutor only provide “reasonable notice of

the general nature” of the evidence he intends to offer at trial.


      Mr. Swinton has been given ample notice and time to object to the phone call

evidence at issue here. In the case at bar, notice was given to Mr. Swinton before

the jury selection date on June 16, 2020, a date which has now been extended to
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January 19, 2021 due to the COVID-19 pandemic. [Dkt. 385 at 4, Dkt. 390]. While the

government has not identified the specific evidence it will bring against Mr.

Swinton since it “has no idea what the defendant’s claims at trial will be,” it has

shared that it might rely on any admissible evidence that Mr. Swinton was:


      obtaining narcotics, cutting narcotics, packaging narcotics, meeting
      to distribute narcotics, collecting or owing debts for narcotics, selling
      narcotics, discussing plans to distribute narcotics, avoiding law
      enforcement detection, or pertain to outside narcotics competition,
      along with any communications that pertain to knowledge of such
      distribution or collection activities, outline the respective roles or
      historic connection among the conspirators, discuss profits earned
      from distributing narcotics, express commitment to the organization
      or reassurances of the commitment to or success at criminal activity,
      and the like.
   Id. at 6. The Court finds that this list of activities provides Mr. Swinton

reasonable notice of the types of actions the government plans to introduce into

evidence. Additionally, given the recent Order barring any in-court proceedings

due to the COVID-19 pandemic until November 2020, Mr. Swinton has been given

ample time and notice to object to the admission of this evidence. Mr. Swinton was

notified of the types of activities which would be entered into evidence in Docket

385, filed on April 30, 2020. This would give Mr. Swinton nearly nine months to

object. As a result, the Court denies Mr. Swinton’s Dkt. 362 and 363 motions to

exclude the phone call evidence on the grounds that it is extrinsic evidence for

which 404(b) notice has not been given both because the evidence is intrinsic to

the indicted crimes, and because the Government has provided Mr. Swinton with

adequate notice of the evidence to be used against him.

   III. Motion in Limine Re: DEA Agent Expert
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       Mr. Swinton seeks (1) an order excluding any law enforcement or case agent

from testifying based on her opinion of what the intercepted communications mean

as a whole, rather than what specific words mean; (2) an order prohibiting the case

agent from testifying as an officer expert; and (3) an instruction to the government

to caution any law enforcement witness qualified as an expert not to offer any

opinion or speculation that would otherwise be prohibited as testimony. [Dkt. 366

at 1-2; Dkt. 365]. The government responds that it intends to call a cooperating

witness to testify about cell phone communications in furtherance of the

conspiracy. [Dkt. 385]. The government claims that the use of a specialized DEA

agent is necessary to “assist the jury with its interpretation of the intercepted

communications, which contain jargon, codes, and language that the jury may

otherwise be at a loss to understand the significance.” [Dkt.385 at 32]. The

government intends to call Special Agent Raymond Walczyk, who has no

involvement in the investigation, as an expert to offer his opinion regarding the

manner, means, and common practices of narcotics traffickers and narcotics

trafficking organizations, as well as details regarding the basis of those opinions.

[Dkt. 366 at 3].

       First, since the government states that it does not intend to call any officer

involved in the case as an expert witness, [Dkt. 385 at 32], the Court denies as moot

Mr. Swinton’s motion in limine at Docket 366 to the extent it requests an order

prohibiting an involved law enforcement officer from testifying as an expert

witness.
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      Next, the Court agrees with Mr. Swinton that evidence based on speculation

is not admissible, see Fed. R. Evid. 603 and 701, and therefore grants his motion in

limine to exclude testimony based on speculation. [Dkt. 365]. The Court notifies

both parties that any evidence discussed should follow the Federal Rules of

Evidence and be free of speculation.

      Finally, the Court addresses Mr. Swinton’s motion for an order excluding any

law enforcement     testifying based upon speculation and what she thinks

intercepted text messages – rather than words – mean.


      In situations where “scientific, technical, or other specialized knowledge will

assist the trier of fact to understand the evidence or to determine a fact in issue” a

court can rely on a witness with knowledge, skill, experience, training, or education

as an expert. Fed. R. Evid. 702. Testimony is properly characterized as “expert

testimony” only if it concerns matters that the average juror is not capable of

understanding on his or her own. United States v. Mejia, 545 F.3d 179, 190 (2nd Cir.

2008) quoting Fed. R. Evid. 702. In providing said evidence, “an expert must form

his own opinions by applying his extensive experience and reliable methodology

to the inadmissible materials”. Id. This Circuit historically allows law enforcement

officers to testify as expert witnesses to explain the meaning of code. Id.

discussing United States v. Levasseur, 816 F.2d 37, 45 (2d Cir. 1987)(finding that

there was no error in allowing uninvolved FBI agents to testify as expert witnesses

regarding coded text messages pertaining to building bombs). See also United

States v. Locascio, 6 F.3d 924, 936 (2d Cir. 1993) (upholding an FBI agent’s expert

testimony about the internal operating rules of organized crime families, the
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meaning of recorded conversations, and the identification of members of the

Gambino crime family.); Dang Vang v. Toyed, 944 F.2d 476, 481-482 (9th Cir. 1991)

(upholding district court’s finding that law enforcement officers may be equipped

by experience and training to speak to the operation, symbols, jargon, and internal

structure of criminal organizations.) The Court finds no reason to not follow

precedent, as the average citizen may be unaware of the slang and language

involved with narcotics and would benefit from an expert opinion on how to

interpret it.


       But an officer expert might “stray from the scope of his expertise” by

“testify[ing] about the meaning of conversations          in general, beyond the

interpretation of code words” or by “interpret[ing] ambiguous slang terms that only

at first glance might appear to be code or jargon.” United States v. Dukagjini, 326

F.3d 45, 55 (2d Cir. 2003), quoted in Meija, 545 F.3d at 192-93. Therefore, the Court

grants Mr. Swinton’s motion for an order for an instruction to the Government. [Dkt.

366]. The Government is instructed that any expert must limit the scope of his or

her testimony to the interpretation of code words and must not speculate about the

meaning of conversations in general.

       Additionally, the government must provide the basis for Agent Walczyk’s

opinion and his expected conclusions, including any specifically relevant

experience and training. See Fed. R. Crim. P. 16(a)1(G) (citing Fed. R. Evid. 702,

703, 705); United States v. Valentin, No. 3:14-CR-55 (VLB), 2016 WL 1211304, at *2

(D. Conn. Mar. 25, 2016). The Court will not permit an expert to draw inferences
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where more than one inference could be drawn by the jury based on the education

and experience to which the expert testified.

       IV. Motion in Limine Re: Pole Camera Photographs

   Mr. Swinton requests that the Court conduct a hearing outside of the presence

of the jury regarding the admissibility of pole camera photographs allegedly

showing him entering a business known as Hat Boyz in Norwich, CT on December

8, 2018 at approximately 6:23 pm. [Dkt. 367 at 1]. Mr. Swinton claims that the jury

will not reasonably be able to determine that the evidence conclusively places him

at that specific location due to the low quality of the photos. [Dkt. 367 at 1].

Therefore Mr. Swinton claims that the photos should not be admitted under the

Federal Rules of Evidence for not meeting the standards of Rule 401. [Id. at 2]. The

Government counters that a hearing is unnecessary because the photos are

relevant to establishing Mr. Swinton’s involvement with the conspiracy, and that,

when    viewed      in   conjunction   with intercepted   communications   between

defendants, the photographs help to illustrate his involvement with the conspiracy.

[Dkt. 385 at 36].


       Regardless of form, evidence is admissible in court only if it is relevant to

the specific issues at trial. Fed. R. Evid. 402(b) (“Irrelevant evidence is not

admissible.”). Evidence is relevant if “it has any tendency to make a fact more or

less probable than it would be without the evidence.” Fed. R. Evid. 401(a). “When

the relevance of evidence depends on whether a fact exists, proof must be

introduced sufficient to support a finding that the fact does exist,” though “[t]he

court may admit the proposed evidence on the condition that the proof be
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introduced later.” Fed. R. Evid. 104(b). “When faced with a question of conditional

relevance, the district court should “examine[ ] all the evidence in the case and

decide[ ] whether the jury could reasonably find the conditional fact ... by a

preponderance of the evidence.” United States v. Coplan, 703 F.3d 46, 81 (2d Cir.

2012) (quoting Huddleston vs. United States, 485 U.S. 681, 690 (1988)). “The court

must conduct any hearing on a preliminary question so that the jury cannot hear it

if… justice so requires.” Fed. R. Evid. 104(c).

      In the case at bar, the digital photographs may only be admitted in Court if

the government can prove that they are relevant to the issue of whether Mr. Swinton

was involved in a conspiracy to distribute drugs. For the photos to make the fact

of drug conspiracy more or less probable, the government would have to establish

that the individual in the photograph is in fact Mr. Swinton. The conditional fact,

then, is that the individual in the photograph is Mr. Swinton.

   While there is no brite line as to when a photo is “clear enough”, it is impossible

to clearly identify the individual in the photograph when viewed alone. Were it to

view this photo in isolation, the Court would agree with Mr. Swinton that these

photos would be inadmissible as irrelevant.       But “pieces of evidence must be

viewed not in isolation but in conjunction.” United States v. Brown, 776 F.2d 397,

403 (2d Cir. 1985) (quoting United States v. Geaney, 417 F.2d 1116, 1121 (2 Cir. The

government claims that, in the context of other evidence it will offer, there is

sufficient proof the depicted individual is Mr. Swinton. [Dkt. 385 at 36-37]. It does

not provide any other evidence with its opposition memorandum, however. Id. The

Court sees no reason to take the Government’s claim of relevance on faith. While
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the supporting evidence may be sufficient to bolster the claim that the individual

in the photos is Mr. Swinton, the Government has not provided such evidence in

their brief. The only details discernable from the photographs is that an African

American male is standing outside the Hat Boyz. Without any other identifying

characteristics, there exists a real danger that the photographs are irrelevant and

unduly prejudicial if shown to a jury. As such, the Court will GRANT in part and

DENY in part the motion for an independent hearing to determine whether these

photographs are admissible.


      The Government must file corroborating evidence on or before August 28,

2020, at which point the Court will determine if a hearing is necessary.


      V. Conclusion

      For the reasons and subject to the limitations state above, Mr. Swinton’s

Motion in limine to exclude the government from using conversations not directly

charged [Dkt. 363] is DENIED. Mr. Swinton’s motion to exclude 404(b) evidence is

DENIED. [Dkt. 362]. The motion to exclude testimony based on speculation [Dkt.

365] is GRANTED. The motion concerning DEA Agent expert testimony [Dkt. 366]

is GRANTED in part and DENIED in part. Mr. Swinton’s motion for a special hearing

concerning pole camera photographs [Dkt. 367] is GRANTED in part and DENIED

in part. The Government has until August 28, 2020 to file evidence corroborating

the identity of Mr. Swinton in the photo, at which point the Court will determine

whether a hearing is necessary.


                                             IT IS SO ORDERED.
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                                           _______/s/________
                                           Hon. Vanessa L. Bryant
                                           United States District Judge


Dated at Hartford, Connecticut: August 14, 2020
